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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

       IN RE:            EUGENE BARON SCHWING, JR.                     CASE NO. 18-13335

                         DEBTOR                                        CHAPTER 13

                                                                       SECTION B

              NOTICE OF CHANGES TO AMENDED CHAPTER 13 PLAN
                   IN COMPLIANCE WITH LOCAL RULE 1009-1


         TO ALL PARTIES OF INTEREST:

         1.      Schedule D is being amended to list the mortgage held by Wells Fargo Home

              Mortgage. The mortgage is owed by Debtor’s non-filing spouse. The claim is being paid

              directly. Wells Fargo Home Mortgage did not file a proof of claim.

         2. The Chapter 13 plan is being amended to reflect that the bar date has passed and Debtor

              is paying 104% to non-priority general unsecured creditors.


          The modification is immaterial.


                                                        Respectfully submitted,


                                                        /s/ Steven J. Hunter
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